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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND
                                 SOUTHERN DIVISION

 AMERICAN CHEMICAL SOCIETY ET AL.,

                                 Plaintiffs,              Case No. 8:18-cv-03019-GJH

          v.

 RESEARCHGATE GMBH,

                                 Defendant.



                 JOINT PROPOSED DISCOVERY DEADLINES AND LIMITS

         Pursuant to the Court’s request during today’s Rule 16 conference, Plaintiffs American

Chemical Society, Elsevier Inc., Elsevier Ltd., and Elsevier B.V. (collectively, “Plaintiffs”), and

Defendant ResearchGate GmbH (“Defendant”), by and through their respective undersigned

counsel, hereby submit the following joint proposed discovery deadlines and changes (or

clarifications) to the discovery limits.


    I.         DEADLINES

    March 19, 2019              Deadline for Initial Disclosures

    September 30, 2019          Deadline for Plaintiffs to file a revised Exhibit A (list of
                                works in suit) to the Complaint

    October 15, 2019            Deadline for moving for joinder of additional parties and
                                amendment of pleading

    March 19, 2020              Fact discovery deadline

    May 1, 2020                 Rule 26(a)(2) expert disclosures

    July 14, 2020               Rebuttal Rule 26(a)(2) expert disclosures

    August 4, 2020              Rule 26(e)(2) supplementation of disclosures and responses

    October 4, 2020             Expert discovery deadline; submission of status report
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   December 14, 2010         Deadline for the filing of dispositive motions; Daubert motions may
                             also be filed at this time.


   II.    DISCOVERY

   The Local Rule 104(1) limitation on the number of requests for production shall not apply

   The Federal Rule of Civil Procedure 33(a)(1) limit of 25 interrogatories shall apply per side,
   not per party.

   The Federal Rule of Civil Procedure 30(2)(A)(i) limit of 10-depositions does not include expert
   witness depositions.

   These agreed modifications to the discovery limits are without prejudice to further
   modifications being requested by any Party at a later date.

   Electronically stored information or documents (“ESI”) must be produced with searchable text
   in native format or image format. Documents produced in image format should be produced
   as .tiff or .pdf files accompanied with load files containing associated metadata and companion
   OCR and/or extracted text files. ESI maintained in formats that are not easily converted to
   image format or where such conversion would render them unintelligible, should be produced
   in native format with, to the extent necessary, a description of the system from which they
   came, sufficient to permit rendering the records and information intelligible.


Dated: March 4, 2019


Respectfully submitted by:


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